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November 15, 2020

Dear Officer Ferreira,

Thank you very much for calling me last week and giving me the chance to show you
and the Chief how | have matured/changed since March 27", 2018, and for allowing me
the opportunity to be considered trustworthy. On or about the same date above | said
some things while | was a Sophomore in High School that were inappropriate, and
unfortunately | was insensitive to the current events going on at other schools. | lacked
some of the social disciplines and the situational awareness needed at that time to
make a logical decision on how to express myself verbally. In retrospect, when | was
sixteen years of age | never looked at how people reacted to what | said, and | didn’t
think it would matter or affect my life. | understand now that | couldn’t have been more
wrong.

After two years and eight months since the date above, | am very cognizant of the world
around me and know how powerful words can be. | realized after the incident and of
course understand now that what | say matters and to weigh my words, knowing now
the “ripple in the pond” effect works. In hindsight, it disturbs me that | made people
uncomfortable or even scared because of what | said. | now have the situational
awareness and social disciplines | lacked in March of 2018 and am very aware of my
surroundings when | speak.

In 2019 | enlisted in the United States Air Force/Air National Guard working for the 102d
Intelligence Wing as a Cyber Transport Specialist. | have been to Basic Training and’
am awaiting my Tech School in January 2021, which the break in training was due to
the Covid 19 outbreak. In order to go to Tech School, | needed an adjudicated Top
Secret clearance with the Government, which | have now.

The investigation process was extremely thorough, and the events that happened on
March 27", 2018 at Dighton Rehoboth High School were discussed. Everything was
explained to the investigator about the incident as well as police reports, school letters
and any or all documents that were submitted to the investigator that were generated
from this event. | was very concerned that my decisions that | made at 16 would haunt
my future in serving my country in the military and am glad they did not.

With wearing the uniform and being a representative/ambassador of the United States
Air Force, and now having a Top Secret clearance, | now represent much more than
myself and need to watch what | say and do both in public and in private, as it affects
more than just myself. | think that | have grown as a person, especially after joining the
Air Force/ANG and putting on the uniform. | uphold and apply in my personal life as well
as my military career the three Air Force core values, Integrity First, Service Before Self,
and Excellence in All We Do.
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The Air Force/ANG has given me the tools to be an outstanding Airmen and an
upstanding citizen, and | intend to make full use of these tools so that | can be the best |
can possibly be. These tools will be especially useful as | now hold a lot of responsibility
to my name. | will be required to show that | can be a responsible and upstanding
person in order to maintain and keep my Top Secret clearance, and that | am to be held
responsible for anything that | do or say.

| understand the concern to not grant me the responsibility of having a Firearms ID in
2018. | hope this letter highlights that | have changed as a person from a sixteen year
old in High School to a person with a military career in Intelligence/Cyber Intelligence
and a person that now has the national trust to safeguard classified information. It is my
hopes that you will now consider me for my Firearms ID.

If there is anything further that might need clarification or if there is additional
information needed please reach out to me by phone or text at 508-884-6822.

Respectfully Submitted,

Jack D. Teixeira
